Case 1:15-cv-00146-PLM-SJB        ECF No. 217, PageID.3625          Filed 03/14/25    Page 1 of
                                            1



                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


  UUSI, LLC,

         Plaintiff/Counter-Defendant,
                                                               Case No. 1:15-cv-146
  v.
                                                               HON. PAUL L. MALONEY
  SAMSUNG ELECTRONICS
  CO., LTD, et al.,

        Defendants/Counter-Claimants.
  ____________________________/

                                        JUDGMENT

        In accordance with the Opinion and Order entered this day,

        Judgment is entered in favor of Defendants and against Plaintiff, dismissing all claims

 for lack of standing.



 Dated: March 14, 2025                                     /s/ Paul L. Maloney
                                                          PAUL L. MALONEY
                                                          United States District Judge




                                               1
